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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et
al,

Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Objection Deadline: June 18, 2014 at 4:00 (EDT)
Hearing Date: June 30, 2014 at 9:30 a.m. (EDT)

NOTICE OF MOTION

TO: (a) the United States Trustee for the District of Delaware; (b) the Debtors; (c) the Official
Committee of Unsecured Creditors; and (d) those parties that have requested service
pursuant to Bankruptcy Rule 2002, in accordance with Local Rule 2002-1.

On June 3, 2014, FPL Energy Pecos Wind I, LP (“FPL I’), FPL Energy Pecos Wind II,
LP (‘FPL I’), and NWP Indian Mesa Wind Farm, L.P. (““NWP” and, together with FPL I and
FPL II, the “Movants”) filed a Motion of FPL Energy Pecos Wind I, LP (“FPL I”), FPL
Energy Pecos Wind II, LP (“FPL II”), and NWP Indian Mesa Wind Farm, L.P. for a
Determination that the Automatic Stay does not Prevent Termination of Power Purchase
Agreements (the “Motion’).

Objections, if any, to the final relief requested in the Motion must be filed with the
United States Bankruptcy Court, 824 North Market Street, 3" Floor, Wilmington, Delaware
19801, on or before June 18, 2014 at 4:00 p.m. (ET).

At the same time, you must also serve a copy of the objection upon the undersigned
counsel so as to be received no later than 4:00 p.m. (ET) on June 18, 2014.

A HEARING ON THE MOTION WILL BE HELD ON JUNE 30, 2014 AT 9:30 A.M.
(EDT) BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI, UNITED STATES
BANKRUPTCY COURT JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 5" FLOOR,
COURTROOM 6, WILMINGTON, DELAWARE 19801.

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered on an interim basis, a complete list of the debtors and the last
four digits of their federal tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the debtors’ claims and noticing agent at http://(www.efhcaseinfo.com.

{1016.001-W0031585.}
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IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER

NOTICE OR HEARING.

Dated: June 4, 2014
Wilmington, Delaware

{1016.001-W0031585.}

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